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                Exhibit A
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24. Notwithstanding the disclosure limitations of Paragraphs 7 and 8, in order to address
evidence contained in Confidential or Highly Confidential Discovery Material or
Investigation Material of allegations of anticompetitive conduct that is the subject matter
of Plaintiffs’ Amended Complaint, outside counsel for Defendants retained specifically for
this action may disclose those specific allegations of what a person is alleged to have said
or done that constitutes alleged anticompetitive conduct of a Defendant where the conduct
is described in Confidential or Highly Confidential Discovery Material or Investigation
Material with an employee or former employee of a Defendant, but only to: (1) an
employee or former employee of a Defendant (a) who is named with specificity in a
document, (b) who outside counsel for Defendants have a good faith belief is an employee
alleged to have engaged in the conduct referenced in such document, or (c) who is a direct
supervisor to whom an individual falling into categories 1(a-b) reports directly in
connection with the conduct referenced in such document; or (2) as otherwise permitted
under the terms of this Protective Order; or (3) in-house counsel who are primarily
responsible for the oversight of this action at Defendants.

No person receiving information pursuant to this Paragraph may use such information for
any purpose other than the conduct of this action. Nor may any such person discuss or
disseminate such information outside the presence of outside counsel for Defendants or
persons falling within the scope of sub-paragraphs (1-23) above. Any person receiving
information pursuant to this Paragraph must first execute the Non-Disclosure Agreement
in the form annexed as an Exhibit hereto as Appendix A.

Nothing in this Paragraph 24 shall prevent outside counsel for Defendants from disclosing
alleged conduct or statements of Defendants’ employees or former employees that outside
counsel knows or learns of independently of Confidential or Highly Confidential Discovery
Material or Investigation Material.
Outside counsel for Defendants may not:
1. Show any Confidential or Highly Confidential Discovery Material or Investigation
   Material to Defendants’ current or former employees, or
2. Disclose, expressly or otherwise, any identifiers from the Confidential or Highly
   Confidential Discovery Material or Investigation Material to Defendants’ current or
   former employees, including the source, date, or subject.
3. Disclose, expressly or otherwise, the fact of or the identities of participants in
   communications between non-parties that are reported or described in Confidential or
   Highly Confidential Discovery Material or Investigation Material.

To be clear, however, outside counsel may disclose details about the alleged conduct or
statements of Defendants’ employees or former employees sufficient to identify the conduct
or statement, including any alleged dates or recipients of the alleged conduct or
statements, subject to the terms of this paragraph.

Subject to the restrictions set forth in this Amendment, outside counsel may discuss the
subject matter of Confidential or Highly Confidential Discovery Material or Investigation
Material relating to alleged anticompetitive conduct by Defendants’ employees or former
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employees that is the subject matter of Plaintiffs’ Amended Complaint with up to two
designated in-house counsel approved by the producing person or with leave of Court.

In order to seek approval for the two in-house counsel described in this Paragraph 24
from the producing person, Defendants must: (1) identify by bates number(s) the
Confidential or Highly Confidential Discovery Material or Investigation Material they
intend to disclose; and (2) identify the in-house counsel to whom they intend to disclose
such material. If outside counsel does not receive approval from the producing person
within ten (10) business days of making the request (or sooner, if an impasse is reached),
Defendants may file a motion with the Court for leave to discuss the subject matter of the
Confidential or Highly Confidential Discovery Material or Investigation Material with the
designated in-house counsel. The meet and confer process, and briefing, for any such
motion will be governed by the procedures for filing discovery motions set forth in Section
5 of the Court’s Individual Practices, except that a producing party that is not a party to
this action is excused from the requirement to identify a Lead Trial Counsel or to make a
Lead Trial Counsel available to meet and confer.

Prior to any disclosure to in-house counsel pursuant to this Paragraph 24, the designated
in-house counsel must execute a Non-Disclosure Agreement in the form annexed hereto as
Appendix A.
